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Exhibit F
(California Report, Relevant Excerpts)

 
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Department of Consumer Affairs

State of California
Medical Board of California

Memorandum
Agenda Item 8.

Date; January 24, 2005

  

To : ‘elke Division of Licensing

   

Frdm J vce E, Hadnat
hief, Licensing Program

Subject : Report on the Site Visit to St. Matthew’s University School of Medicine,
Grand Cayman

Attached for your review is the report prepared by the team that conducted site inspections to
three facilities of St. Matthew’s University School of Medicine in May and June 2004.

As the members will recall, Hurricane Ivan damaged St. Matthew’s Grand Cayman campus on
September 12, 2004, necessitating the relocation of the school’s basic sciences program to
temporary facilities in Portland, Maine, At that time, St. Matthew’s officials hoped to return to
Grand Cayman for the Spring semester in January 2005. After it became clear that the island’s
infrastructure would not be repaired that quickly, St, Matthew’s officials announced in
November that the return to Grand Cayman would be postponed until the Summer semester

beginning in May 2005.

As reported to you during your November 5, 2004 meeting, Dr. Thornton declined any
suggestion to withdraw St. Matthew’s application and reapply after all repairs to the campus have
been completed. Consequently, the site inspection team proceeded to complete its report. In’
compliance with Section 1314.1 (e}(3) of Title 16, California Code of Regulations, staff
forwarded a copy of the team’s report to St. Matthew’s officials. This subsection of the
International Medical Schools regulation allows the institution 60 days in which to review the
report and notify staff of any errors of fact or erroneous findings. The report arrived at St.
Matthew’s Florida office on December 17, 2004. They have until February 14, 2005 to notify
staff of any factual errors in the team’s report, As this deadline is four days before your February
18, 2005 meeting, staff is providing the attached report in its present form. If staff receives a
response from St. Matthew’s officials before your meeting and if time permits, staff will make all
appropriate corrections to the report and provide you with a revised copy.

Dr. Harold Simon, Medical Consultant, expects to attend the meeting on February 18, 2005, He
and the other team members will be available to answer any questions you may have concerning
the team’s report and recommendations. Staff will forward the meeting agenda to St. Matthew’s

officials, in the event they would like to send a representative to the meeting.

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Memorandum to Members, Division of Licensing
January 24, 2005
Page 2

 

Please review the team’s report carefully and consider the options available at this stage of your
review of St. Matthew’s University’s application:

 

1, Adopt the team’s report and issue an order disapproving St. Matthew’s University. St.
Matthew’s officials would have the option to reapply after they have substantially
remedied the deficiencies noted in the Division's report.

2, Take no action at this time.

if you have any questions concerning this memorandum before February 18, 2005, please contact
me at (916) 263-1080. Thank you.

Attachment

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— DRAFT --
December 15, 2004

To: Division of Licensing
Medical Board of California

From: The Site Team

Harald J. Simon, M.D., Ph.D., Consultant
Richard Fantozzi, M.D., Member

Joyce Hadnot, Deputy Director

Anita Scuri, Legal Advisor

Martin Pops, M.D. (Chicago Site Visit)

Subject: Report on Site Visits io St. Matthew's University School of
Medicine, Its Branch Campus in Windham, Maine, and
Teaching Hospitals Offering Clerkships to Its Students

introduction

A survey of the St. Matthew’s University School of Medicine (“SMUSOM”) campus in
Windham, Maine was conducied on May 11 and 12, 2004 by a team representing the
Division of Licensing of the Medical Board of California (“Division’). A team also visited
four teaching hospitals offering clerkships to SMUSOM students on May 24-25, 2004 in
Chicago, ilinois. Thereafter, the site team conducted a survey of the principal campus
on Grand Cayman, British West Indies, on June 17 and 18, 2004.

The purpose of the site visits was to determine whether the school provides an
educational program that is equivalent to the requirements of Business and Professions
Code Sections 2089 and 2089.5 and meets the requirements of Title 16 Cal. Code
Regs. sections 1314.1. The team members were Richard Fantozzi, M.D., division
member, Joyce Hadnot, Deputy Director of the MBC, Anita Scuri, Legal Counsel from
the Department of Consumer Affairs, and Harold Simon, M.D., licensing consultant.
Martin Pops, M.D., Ms. Hadnot, and Ms. Scuri conducted the site visit to four teaching

hospitals in the Chicago, lilinois

This report consists of three consolidated reports on the principal campus
on Grand Gayman, the Windham, Maine branch campus, and four
teaching hospitals in and near Chicago, |ilinois that offer clerkships to
SMUSOM students, together with a recommendation from the site team.

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